                     Case 23-20084-rlj7      Doc 330-59 Filed 03/02/25 Entered 03/02/25 18:27:14          Desc
                                                      Exhibit 59 Page 1 of 1




                                                         RED RAIDER CATTLE


    Company                         Bank                 Acct .     Date      Check #             Payee            Amount
McClain Farms       Community Financial Services Bank   3786       05/10/21   28940     RED RAIDER CATTLE LLC       25,272.31
McClain Farms       Community Financial Services Bank   3786       05/10/21   28938     RED RAIDER CATTLE LLC       70,551.00
McClain Farms       Community Financial Services Bank   3786       06/04/21   29127     RED RAIDER CATTLE LLC       12,243.67
McClain Farms       Community Financial Services Bank   3786       06/04/21   29130     RED RAIDER CATTLE LLC       53,174.49
McClain Feed Yard   Mechanics Bank                      0197       07/16/21   WIRE      RED RAIDER CATTLE LLC       16,728.92
McClain Feed Yard   Mechanics Bank                      0197       08/03/21   WIRE      RED RAIDER CATTLE LLC       19,447.61
7M Cattle Feeders   Mechanics Bank                      0423       08/10/21   WIRE      RED RAIDER CATTLE LLC      149,960.97
McClain Feed Yard   Mechanics Bank                      0197       08/25/21   WIRE      RED RAIDER CATTLE LLC       43,364.74
McClain Feed Yard   Mechanics Bank                      0197       09/24/21   WIRE      RED RAIDER CATTLE LLC      128,417.61
McClain Feed Yard   Mechanics Bank                      0197       10/14/21   WIRE      RED RAIDER CATTLE LLC      174,338.14
McClain Feed Yard   Mechanics Bank                      0197       11/09/21   WIRE      RED RAIDER CATTLE LLC      136,323.50
McClain Feed Yard   Mechanics Bank                      0197       11/26/21   WIRE      RED RAIDER CATTLE LLC       98,612.94
McClain Feed Yard   Mechanics Bank                      0197       11/30/21   WIRE      RED RAIDER CATTLE LLC      175,956.29
McClain Feed Yard   Mechanics Bank                      0197       12/07/21   WIRE      RED RAIDER CATTLE LLC       59,000.10
McClain Feed Yard   Mechanics Bank                      0197       01/12/22   WIRE      RED RAIDER CATTLE LLC       44,547.52
McClain Feed Yard   Mechanics Bank                      0197       02/04/22   WIRE      RED RAIDER CATTLE LLC       91,214.79
McClain Feed Yard   Mechanics Bank                      0197       03/15/22   WIRE      RED RAIDER CATTLE LLC       95,144.53
McClain Feed Yard   Mechanics Bank                      0197       03/22/22   WIRE      RED RAIDER CATTLE LLC       87,758.31
McClain Feed Yard   Mechanics Bank                      0197       04/07/22   WIRE      RED RAIDER CATTLE LLC      120,050.06
McClain Feed Yard   Mechanics Bank                      0197       04/29/22   WIRE      RED RAIDER CATTLE LLC       41,013.32
Total                                                                                                            1,643,120.82




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